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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )
             -vs-                           )      Case No. 20-CR-332-SLP
                                            )
JOSHUA DECKER,                              )
                                            )
                    Defendant.              )


             JOINT STATEMENT OF DISCOVERY CONFERENCE

      This joint statement is submitted pursuant to LCrR16.1(b).

1.    Date Conference Held: January 12, 2021

2.    Names of the attorneys who attended the conference:

      U.S. Attorney/AUSA: K. McKenzie Anderson
      Defense Attorney: Billy Coyle, IV

☒ Retained    ☐ Appointed           ☐ Federal Public Defender/Assistant FPD
☐ or Panel Member

Counsel met for purposes of exchanging discovery materials in accordance with the
Federal Rules of Criminal Procedure as supplemented by the Local Criminal Court
Rules and any orders of this Court and, as a result of the conference, the undersigned
counsel report the following:

3.    The specific time, date and place at which the offense(s) charged is/are alleged
      to have been committed:

      As alleged in the Indictment, Mr. Decker conspired to commit theft of trade secrets
      and downloaded, transmitted, and possessed trade secrets, or aided an abetted same,
      between March and September 2017.
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4.     (a)(1) Any contested issues of discovery and inspection raised by counsel for
       plaintiff:

       Unknown at this time. The United States requests all notices and discovery to
which it is entitled under the Federal Rules of Criminal Procedure, the Local Rules, or any
other federal law or rule. The United States will continue to provide discovery with the
understanding that counsel for Mr. Decker will provide such discovery and notices on a
timely basis.

         (2) Any contested issues of discovery and inspection raised by counsel for
             defendant:

        Unknown at this time. Mr. Decker requests all notices and discovery to which he is
entitled under the Federal Rules of Criminal Procedure, the Local rules, or any other federal
law or rule. Mr. Decker requests that such notices and/or discovery be timely provided.

       (b)     Any additional discovery or inspection desired by either party:

      Both parties request all discovery contemplated by the Federal Rules of Criminal
Procedure, including Rule 16, the local criminal rules, and Brady, Giglio, and related cases.

5.     The fact of disclosure of all materials favorable to the defendant or the absence
       thereof within the meaning of Brady v. Maryland and related cases:

        Counsel for the United States expressly acknowledges its continuing responsibility
to disclose any material favorable to defendant within the meaning of Brady that becomes
known to the government during the course of these proceedings.

6.     The fact of disclosure of the existence or nonexistence of any evidence obtained
       through electronic surveillance or wiretap:

       None.

7.     The fact of disclosure of the contemplated use of the testimony of an informer.
       (Include only the fact an informer exists and not the name or testimony
       thereof):

       None.

8.     The fact of disclosure of the general nature of any evidence of other crimes,
       wrongs, or acts the government intends to introduce at trial pursuant to Fed.
       R. Evid. 404(b):


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       The government intends to introduce certain evidence at trial pursuant to Fed. R.
Evid. 404(b), and will provide “reasonable notice of the general nature of such evidence”
before trial.

9.     The fact of disclosure of the prior felony convictions of any witness the
       government intends to call in its case-in-chief:

       None.

10.    The resolution, if any, of foundational objections to documentary evidence to
       be used by both parties (except for the purpose of impeachment):

       Unknown at this time.

11.    The resolution, if any, of chain-of-custody matters (where at issue):

       Unknown at this time.

12.    The resolution, if any, of the admissibility of any reports containing scientific
       analysis without requiring the expert's attendance at trial:

       Unknown at this time.

13.    The parties will provide each other with the opportunity to inspect any
       demonstrative evidence, representational exhibits or charts.

      Counsel for both parties state that presently there are no additional matters of
discovery presently known.

       Counsel expressly acknowledge the obligation to produce these items(s) as soon as
practicable, but in no event later than fourteen (14) days prior to the trial of this cause.
Counsel also expressly acknowledges continuing obligation to disclose any materials that
become known to counsel during the course of the pretrial investigation of this cause.

14.    Notice of Alibi:

       None.

15.    Notice of Insanity Defense or Expert Testimony of Defendant's Mental
       Condition:

       None.


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16.   Notice of Defense Based on Public Authority:

      None.

        At the conclusion of this conference, counsel conferred concerning the contents of
this joint statement.


                                                Respectfully submitted,

                                                TIMOTHY J. DOWNING
                                                United States Attorney



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